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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                              §
IN RE:                                        §
                                              §           Case No. 20-35493
1960 FAMILY PRACTICE, P.A.,                   §           (Chapter 7)
                                              §
        Debtor.                               §

                       DR. HUONG LE’S WITNESS/EXHIBIT LIST
                                 [Ref. Doc. No. 126]

Witnesses:                                        Judge: Eduardo V. Rodriguez
                                                  Courtroom Deputy:
Dr. Huong Le                                      Hearing Date: April 4, 2023
K.C. Curtis, VP Independent Financial             Hearing Time: 8:30 a.m.
Eva S. Engelhart, Chapter 7 Trustee               Party’s Name: Dr. Huong Le
                                                  Attorney’s Name: Matthew B. Probus
                                                  Attorney’s Phone: (713) 258-2700
                                                  Nature of Proceeding: Hearing on Order to
                                                  Show Cause (Doc. No. 126).


 Ex #              Description            Offered    Objection   Admitted/Not   Disposition
                                                                  Admitted
  1        Order to Show Cause (Doc.
           No. 126)
  2        Balloon Real Estate Lien
           Note dated August 23, 2016
  3        First Modification of Note,
           Deed of Trust, and Other
           Loan Agreements
  4        Letter dated March 3, 2022,
           to Medical Village of
           Cypress      Creek,      LP
           confirming the loan has been
           paid in full
  5        Release of Lien dated
           February 10, 2022
  6        Loan History Record of
           Loan No. 8012159 with
           Medical Village of Cypress
           Creek, LP


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 Ex #            Description          Offered    Objection    Admitted/Not   Disposition
                                                               Admitted
   7      Subpoena of KC Curtis and
          Return of Service

DATED: March 30, 2023                   THE PROBUS LAW FIRM

                                        By:     /s/ Matthew B. Probus
                                                Matthew B. Probus
                                                TBA#16341200
                                                Fed. I.D. No. 10915

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                                        ATTORNEYS FOR DR. HUONG LE




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